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                IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION

CANDICE L. BOX,                           )
                                          )
      Plaintiff,                          )
                                          )
vs.                                       )   CIVIL ACTION NO. 17-122-CG-MU
                                          )
GEICO CASUALTY COMPANY;                   )
GEICO GENERAL INSURANCE                   )
COMPANY,                                  )
                                          )
      Defendants.                         )

                                      ORDER

      The parties having filed a Joint Stipulation of Dismissal with Prejudice (Doc.

24) on October 24, 2017, it is ORDERED that this matter be and is hereby

DISMISSED with prejudice. Costs of this action are to be taxed as paid.

      DONE and ORDERED this 24th day of October, 2017.


                         /s/ Callie V. S. Granade
                         SENIOR UNITED STATES DISTRICT JUDGE
